

People v Sanders (2018 NY Slip Op 03551)





People v Sanders


2018 NY Slip Op 03551


Decided on May 16, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 16, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
LEONARD B. AUSTIN
JEFFREY A. COHEN
VALERIE BRATHWAITE NELSON, JJ.


2011-04086
 (Ind. No. 4124/09)

[*1]The People of the State of New York, respondent,
vJulius Sanders, appellant.


Julius Sanders, Stormville, NY, appellant pro se.
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove and Seth M. Lieberman of counsel), for respondent.
Paul Skip Laisure, New York, NY (De Nice Powell of counsel), former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated July 9, 2014 (People v Sanders, 119 AD3d 713), affirming a judgment of the Supreme Court, Kings County, rendered April 6, 2011.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
DILLON, J.P., AUSTIN, COHEN and BRATHWAITE NELSON, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








